        Case 1:25-cv-00402-AHA           Document 20         Filed 02/12/25      Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 GLOBAL HEALTH COUNCIL, et al.,

         Plaintiffs,

 v.
                                                        Civil Action No. 1:25-cv-00402
 PRESIDENT DONALD TRUMP, et al.,

         Defendants.



      NOTICE OF FILING LIST OF CONTRACT AND GRANT TERMINATIONS

        In the less than four hours following this afternoon’s hearing, and pursuant to this Court’s

order, Defendants have endeavored to compile a list of the USAID contracts and grants that have

been terminated or in which stop work orders have been issued since Plaintiffs filed their lawsuit

yesterday morning, February 11, 2025. The relevant list is attached. Given the few hours

Defendants had to compile the list, it is possible that additional contracts and grants will be later

identified. Defendants will supplement the list in the event that additional reportable items are later

identified.

        Defendants were uncertain whether the Court directed the same information to be provided

for the State Department. Defendants have asked the State Department to begin compiling the

same information, but the State Department has represented it is unable to do so by 7:00 p.m.

today. If the Court’s order to provide information also applies to the State Department, Defendants

respectfully request additional time to provide the information for the State Department.




                                                  1
       Case 1:25-cv-00402-AHA   Document 20      Filed 02/12/25     Page 2 of 2




Dated: February 12, 2025                  Respectfully submitted,
                                          BRETT A. SHUMATE
                                          Acting Assistant Attorney General
                                          Civil Division

                                          ERIC J. HAMILTON
                                          Deputy Assistant Attorney General
                                          Civil Division

                                          ALEXANDER K. HAAS
                                          Director
                                          Federal Programs Branch

                                          LAUREN A. WETZLER
                                          Deputy Director
                                          Federal Programs Branch

                                          CHRISTOPHER R. HALL
                                          Assistant Branch Director

                                          /s/ Indraneel Sur
                                          INDRANEEL SUR
                                          Senior Counsel
                                          CHRISTOPHER D. EDELMAN
                                          Trial Attorney
                                          United States Department of Justice
                                          Civil Division, Federal Programs Branch
                                          1100 L St. NW
                                          Washington, DC 20005
                                          Phone: (202) 616-8488
                                          Email: indraneel.sur@usdoj.gov

                                          Counsel for Defendants




                                      2
